

Matter of Scardera v Planning Bd. of the Town of Mount Pleasant (2025 NY Slip Op 01936)





Matter of Scardera v Planning Bd. of the Town of Mount Pleasant


2025 NY Slip Op 01936


Decided on April 2, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
LINDA CHRISTOPHER
LOURDES M. VENTURA
JAMES P. MCCORMACK, JJ.


2023-10886
 (Index No. 50769/20)

[*1]In the Matter of Albert Scardera, Jr., petitioner,
vPlanning Board of the Town of Mount Pleasant, respondent, Palisades Fuel, Inc., appellant.


Bleakley Platt &amp; Schmidt, LLP, White Plains, NY (David H. Chen and Lino Sciarretta of counsel), for appellant.
Harris Beach PLLC, White Plains, NY (Darius P. Chafizadeh, Christopher H. Feldman, and Ian R. Connett of counsel), for respondent.



DECISION &amp; ORDER
In a proceeding pursuant to CPLR article 78, inter alia, to review so much of a determination of the Planning Board of the Town of Mount Pleasant dated December 5, 2019, as, after a hearing, imposed conditions upon the granting of a certain special permit, Palisades Fuel, Inc., appeals from a judgment of the Supreme Court, Westchester County (Robert J. Prisco, J.), dated October 3, 2023. The judgment denied the petition and, in effect, dismissed the proceeding.
ORDERED that the appeal is dismissed, with costs, as Palisades Fuel, Inc., is not aggrieved by the judgment appealed from (see CPLR 5511).
"[A] person is aggrieved [within the meaning of CPLR 5511] when he or she asks for relief but that relief is denied in whole or in part," or "when someone asks for relief against him or her, which the person oppose[d], and the relief is granted in whole or in part" (Mixon v TBV, Inc., 76 AD3d 144, 156-157 [emphasis omitted]; see Youngwall v Youngwall, 193 AD3d 907). Here, contrary to the contention of Palisades Fuel, Inc., it did not request relief, as it did not join in or submit any papers in support of the petition denied in the judgment appealed from, and thus, it is not aggrieved by the judgment (see CPLR 5511; Barrett v Magnetic Constr. Group Corp., 149 AD3d 1022, 1023; Matter of Abraham S., 291 AD2d 452).
DILLON, J.P., CHRISTOPHER, VENTURA and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








